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ii UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLOR[DA
UNITED S'I`ATES OF AMERICA, CASE NO. 95-595-CR-RYSKAMP
Plaintiff,
Vs. ORDER
MARIO AGUDELO,
Defendant.

THIS CAUSE came before the Court on defendant's Motion for Termination of Probation
And Motion for Permission to Travel Outside the United States, filed November 3, 1998.

This Court has reviewed these motions and being fully advised in the premises, it is hereby:

ORDERED and ADJUDGED that said Motions are Denied.

DONE and ORDERED in West Palm Beach, this /d' day ofNovember, 1998.

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NITED STATES bISTRICT .rU GE

 

cc: Andrew Lourie, AUSA
Sidney Z_ Fleischman, Esq.
U.S. Probation - Joseph Pinto

 

